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                                                     U.S. Department of Justice

                                                     MATTHEW M. GRAVES
                                                     United States Attorney

                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                   January 7, 2022
HAND DELIVERED

Brandon Fellows
Inmate #377943
c/o Kimberlee Smith OR Ingrid Washington
1901 D Street SE
Washington, DC 20003


       Re:     Pro Se Discovery 3 in United States v. Brandon Fellows
               Case No. 21-cr-83 TNM
Mr. Fellows:

Enclosed you will find a DVD containing the following documents:

   x   Attachment A of the Protective Order with your signature that was filed with the Court;
   x   Docket Entry 65 which is a Notice of Filing Pro Se Discovery that was filed with the
       Court outlining what discovery has been produced to you;
   x   Docket Entry 66 which is the filed version of Attachment A to the Protective Order; and
   x   Global Discovery Production 9 which was produced on December 17, 2021 and a letter
       outlining what was produced in Production 9.

       The Government will continue to provide individual discovery as it becomes available in
addition to any future global discovery that you are allowed to view with supervision. If you
have any questions, please feel free to contact me at mona.furst@usdoj.gov or 316-269-6537.

                                                   Sincerely,

                                                   /s/ Mona Lee M. Furst
                                                   Mona Lee M. Furst
                                                   Assistant United States Attorney
Enclosure(s)
cc: Cara Halverson, AFPD
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From:           Fitzgerald, Mark (USADC)
To:             Furst, Mona (USADC); Gorup, Geoffrey (USADC)
Subject:        RE: eDiscovery for Brandon Fellows
Date:           Thursday, January 13, 2022 9:57:49 AM
Attachments:    image002.png


Good Morning Mona and Geoff,

The manilla envelope I received via FedEx on Monday, 01/10/2022, for inmate Brandon Fellows was
taken to the DC Jail today. Kimberlee Smith and Ingrid Washington were not available and the
envelope was given to jail investigator Gary Foreman. Investigator Foreman said he would deliver
the envelope to Ms. Smith (202-523-7054) or Ms. Washington (202-523-7055).

Thanks


Mark Fitzgerald
Special Agent
Department of Justice
U.S. Attorney’s Office - DC
O:
C:
